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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

In re: Chapter 13

CHERRY FRANCIS, Case No.: 1-19-43235-cec
Debtor.

GUSTAVIA HOME, LLC, Adv. Proc. No.: 1-19-01097-cec
Plaintiff,

Vv.

BANK OF AMERICA, N.A.; DEUTSCHE
BANK NATIONAL TRUST COMPANY AS
TRUSTEE UNDER THE POOLING AND
SERVICING AGREEMENT RELATED TO
IMPAC SECURED ASSETS CORP.,
MORTGAGE PASS-THROUGH
CERTIFICATES SERIES 2006-3,

Defendants.

 

NOTICE OF WITHDRAWAL OF APPEARANCE

Please take notice that the undersigned hereby withdraws her appearance in this case on
behalf of Secured Creditor Deutsche Bank National Trust Company, as Trustee, on behalf of the
holders of the Impac Secured Assets Corp., Mortgage Pass-Through Certificates, Series 2006-3
sued incorrectly herein as Deutsche Bank National Trust Company As Trustee Under The
Pooling and Servicing Agreement Related to Impac Secured Assets Corp., Mortgage Pass-
Through Certificates Series 2006-3 (“Deutsche Bank”) in the above-captioned matter, and
requests to be removed from all service lists. Deutsche Bank continues to be represented by

Karena J. Straub, Esq. of Parker Ibrahim & Berg LLP.

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Dated: August 26, 2019 PARKER IBRAHIM & BERG LLP
Attorneys for Defendant,
Deutsche Bank National Trust Company, as
Trustee, on behalf of the holders of the
Impac Secured Assets Corp., Mortgage
Pass-Through Certificates, Series 2006-3
sued incorrectly herein as Deutsche Bank
National Trust Company As Trustee Under
The Pooling and Servicing Agreement
Related to Impac Secured Assets Corp.,
Mortgage Pass-Through Certificates Series
2006-3

By: /s/ Rachel G. Packer

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